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Case 1:14-rnj-Ol775-T.]S Document 8 Filed 08/08/14 Page 1 of 1
AO 94 (Rev. 0]/09, MD 6/09) Commitment to Another District

 

 

UNITED STATES DISTRICT CoURT

 

 

. for the
District of Maryland

United States of America )
v. )

) Case No. 14-1775 TJS
)

Warren D. Hayes ) Charging District’s

Defendcmt ) CHSE NO. 20l2 CFQ 015420
COMMITMENT TO ANOTI-IER DISTRICT
The defendant has been ordered to appear in the Superior Court District of Columbia

 

The defendant may need an interpreter for this language:

 

The defendant: l:l will retain an attomey.

is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance

IT IS ()RDERED: The United States marshal must transport the defendant, together with a copy of this order, to
the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled The clerk of this district must promptly transmit the papers and any bail to the charging district.

Date: August 8, 2014 /f/V|?W
v

Judge ’:: signature

TIMOTHY J. SULLWAN
UNlTED STATES MAGISTRATE JUDGE

 

Prr‘m‘ed name and title

winn

 

 

